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               UNITED STATES COURT OF INTERNATIONAL TRADE

              BEFORE THE HONORABLE TIMOTHY M. REIF, JUDGE
________________________________________________
                                                 x
BAROQUE TIMBER INDUSTRIES (ZHONGSHAN)            :
CO., LTD. and RIVERSIDE PLYWOOD                  :
CORPORATION,                                     :
                                                 :
                        Plaintiffs,              :
                                                 : Court No. 23-00136
             v.                                  :
                                                 : PUBLIC VERSION
UNITED STATES,                                   :
                                                 :
                        Defendant,               :
                                                 :
                                                 x


                         PLAINTIFFS’ REPLY BRIEF

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Dated: August 29, 2024
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                                       INTRODUCTION

       Plaintiffs, Baroque Timber Industries (Zhongshan) Co., Ltd. and Riverside Plywood

Corporation (collectively “Baroque”) submit this Reply Brief in response to the Response Brief

filed by Defendant (the “Government”). For the reasons outlined below, and in Baroque’s 56.2

motion and brief (“Baroque Br.”), the Court should reject the Government’s arguments in full.

                                         ARGUMENT

I.     ITTO BENCHMARK DATA ARE SPECIFIC TO THE PLYWOOD BAROQUE
       PURCHASED; UN COMTRADE DATA ARE NOT

       In its Final Results, Commerce failed to provide a reasoned explanation based on

substantial evidence for including UN Comtrade data in the Tier 2 plywood benchmark (1) that

are not grade specific, (2) where indisputable evidence exists that different plywood grades have

significantly different prices, and (3) when record evidence demonstrates that UN Comtrade data

is overbroad and includes grades of plywood that are materially and significantly different than

the plywood used by Baroque. The Government’s brief provides insufficient justification for

Commerce’s position.

       The Government does not dispute that Commerce found the UN Comtrade data and

ITTO data both to be “sufficiently reliable and representative” of a world market price where it is

reasonable to conclude that such price would be available to purchasers in the country in

question. Gov. Br. at 9. Commerce made this determination by averaging the two sources

together based on 19 C.F.R. § 351.511(a)(2)(ii). In other words, Commerce determined that the

UN Comtrade data and the ITTO data were both individually and independently reliable and

representative of a world market price; therefore, Commerce averaged the commercially

available world market prices.

       What is in dispute is whether the UN Comtrade plywood data (which is not grade-

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specific and contains all grades) satisfy the “prevailing market conditions” criteria outlined in 19

U.S.C. § 1677(5)(E)(iv), permitting Commerce to use this source as a tier 2 benchmark in the

first place. As discussed in detail in Baroque’s brief, record evidence shows that no subject

merchandise producer in China would use plywood grades higher than those reported by the

ITTO data. Baroque Br. at 11-17. Narrowing the benchmark data to only the ITTO data and

excluding the UN Comtrade data that includes higher grade plywood ensures that the benchmark

selected is sufficiently comparable to the input subject to the less than adequate remuneration

program. That is, it prevents against calculating a benefit due differences in product

characteristics as opposed to determining a benefit as a result of a LTAR subsidy.

        Indeed, the Government in its brief acknowledges that Commerce considers “the facts

surrounding the data/information placed on the record of a proceeding. . . {which} must be

evaluated on a case-by-case basis.” Gov. Br. at 10 (emphasis added) (citation omitted). We

agree. The Government then goes on to explain that “Commerce’s practice is to consider

whether a dataset represents comparable. . . world market prices, and if so, to include it in the

calculation of the benchmark, narrowing it to a more relevant subset if appropriate.” Gov. Br.

11 (emphasis added). Again, we agree. Here, the record indicates that Baroque did not purchase

or use plywood grades greater than those reported by ITTO. Nor would any MLWF producer

given that high quality face veneer is always placed on top of the plywood core obscuring any

defects in the plywood.1

        After explaining that Commerce’s practice is to narrow the datasets where the record and

data allow, the Government then attempts to rationalize why Commerce included non-grade-




1
  Second Benchmark Submission at Exhibit SB-1 (Nov. 1, 2022) (PR 309; CR 162) (“the plywood used in MLWF
is of a low-quality because it is used for the core of the product, which cannot be seen by the consumer.”).
                                                      2
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specific UN Comtrade HTS subheadings in the benchmark by distinguishing between tier 1

benchmarks and tier 2 benchmarks:

           Commerce draws on global datasets and takes the average, as required by
           19 C.F.R. § 351.511(a)(2)(ii), to approximate a reasonable benchmark
           price. Commerce tailors those global datasets to the extent possible by
           using only the subheadings of the data that match the product at issue.

Gov. Br. at 12 (emphases added). The Government essentially argues that it only narrows the

benchmark data where the HTS subheadings are specific enough to “match the product at issue.”

Id. The Government’s explanation concedes that the UN Comtrade data “could not be filtered by

grade” and, thus, do not match Baroque’s plywood. Id. at 16. In other words, Commerce

concedes that the UN Comtrade data plywood subheading do not match the product at issue

because these headings do not specify grade (and therefore include all grades). It makes little

sense for Commerce to exclude only those HTS subheadings that are made up exclusively of

products not similar to the input being valued on the one hand but, knowingly, to include basket

subheadings that definitively include non-similar, and distortive products on the other. This is

inconsistent with the myriad cases outlined in Baroque’s direct brief at pages 6-11. Further, when

prices are used for grade A or B plywood, the benefit being calculated for the subsidy is a result

of grade differences and not a result of the countervailable subsidy being received.

       Commerce’s own regulations mandate that Commerce must make allowances for “factors

affecting comparability.” 19 C.F.R. § 351.511(a)(2)(ii). As discussed above, the issue before this

Court is not whether the ITTO data are narrow or the UN Comtrade data are robust, but whether

the UN Comtrade data consists of products that are comparable to the product at issue based on

the record of the case.

       When the products are not comparable, Commerce is not assessing whether the adequacy

of remuneration is caused by a countervailable subsidy but rather is assessing the impact of
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product differences. The Government implies that the non-grade-specific UN Comtrade data are

comparable (or more “robust”) than the grade-specific ITTO data simply because UN Comtrade

data include all grades that could be purchased by the respondents. See, e.g., Gov. Br. at 17. This

robustness is exactly what makes the UN Comtrade data non-comparable. It is overinclusive of

plywood of different (and higher) grades that Baroque did not purchase or use, making it

distortive. Baroque presented a significant amount of evidence showing that:

      Plywood grades significantly impact price;

      Plywood used for subject merchandise is Grades C or D since a high-quality face veneer

       is placed on top of the plywood obscuring scars and defects in the plywood;

      The plywood that Baroque Timber uses in its production is Grade C/D; and

      The HTS provisions used for plywood do not distinguish grade and therefore include all

       grades of plywood.

See Baroque Br. at 12-17.

       The question that should be asked in this case, given the significant record evidence

submitted by Baroque, is: if the UN Comtrade data had been broken out by grade-specific

subheadings similar to the species breakout (which Commerce excluded), would Commerce

include the dissimilar grades in the average of the benchmark? The answer to this question is

clearly “no” based on Commerce’s own statements. Thus, there is no basis to use UN Comtrade

data that include much more costly, grade A plywood.

       The Government addresses several cases cited by Baroque supporting the proposition that

Commerce’s practice is to narrow and tailor global datasets based on the record evidence to

match the product at issue. Specifically, the Government argues that Risen Energy Co. v. United

States, 570 F.Supp.3d 1369 (CIT 2022), supports Commerce’s position to include non-grade-

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specific UN Comtrade data, because the “Court reasoned that this dataset was ‘sourced from

limited samples’ and that including it in the calculation risked ‘overvaluing the United States to

China route data.’” Gov. Br. at 13 (citing Risen, at 1378). The Government’s analysis entirely

misses the mark of the court’s reasoning in Risen. Based on the facts of that case, the court

determined that the “narrow” Descartes ocean freight dataset was less accurate than the

“broader” Xeneta ocean freight dataset for valuing ocean freight in the benchmarks. But this was

not only because the Descartes data were limited or narrow. Rather, the court found that the

Department did not address the “flaws” in the Descartes data (i.e., (1) the data were from one

company, and thus may not constitute a world price, (2) some of the data included less than a

container load shipment rate, and (3) the data included inland freight “which would incur

additional fees not associated with ocean freight or found in the Xeneta data”). Id. at 1379. In

other words, like this case, the evidence in Risen showed that Descartes data were not specific to

the input or services being valued, and the inclusion of the data skewed or did not add to the

accuracy of the benchmark. Id. (“Presently, the analysis does not consider these flaws and

whether the resulting Descartes data reasonably ‘reflect{s} the price a firm actually paid or

would pay if it imported the product.’”). While the specific facts are not the same, the dicta of

Risen is the same as the Government’s statement in its brief here: “Commerce’s practice is to

consider whether a dataset represents comparable—not identical—commercially available world

market prices, and if so, to include it in the calculation of the benchmark, narrowing it to a more

relevant subset if appropriate.” Gov. Br. at 11 (emphasis added).

       This is no different than the other cases the Government tries to distinguish. There is no

dispute that the specific facts are not the same as this case. However, all the cases stand for the

idea and practice that “in order to approximate a reasonable benchmark price . . . Commerce

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tailors those global datasets to the extent possible by using only the subheadings of the data

that match the product at issue” (emphasis added). Gov. Br. at 12. In this case, the UN

Comtrade data cannot be differentiated by grade and therefore include significantly higher grades

that substantial record demonstrates are not used by Baroque. Consequently, the inclusion of the

non-grade-specific UN Comtrade data do not add to the accuracy of the benchmark, but rather

cause the benchmark to be skewed by including prices not associated with Baroque’s purchases

in the benchmark calculation.

          The Government argues that since Baroque purchased grade C and D plywood data, UN

Comtrade data (which covers all grades, including grade D) is a better data set than ITTO, which

only covers grades C/CC. Gov. Br. at 17. The Government is correct that record evidence

conclusively demonstrates that Baroque purchased C and D grades of plywood. Baroque Br. at

12-15. This means that the highest grade of plywood Baroque purchased was Grade C. In other

words, Baroque purchased no grades higher than the grades covered by ITTO data. It is

precisely because UN Comtrade data includes all grades that it should not be used. As noted by

Professor Dai: “{t}here is a significant price difference between Grade AB plywood and Grade

CD.”2 Given these facts, it defies reason that UN Comtrade data is more comparable than ITTO

data simply because UN Comtrade data includes Grade D data in addition to Grades A and B.

Even if ITTO data does not include Grade D, it is more similar to Baroque’s purchases than any

data set that would include Grades A and B.

           Consistent with its practice, Commerce is required to select the most product-specific

data utilizing record evidence. Defendant’s arguments concerning the “robust” nature of the non-

specific data are not reasoned or supported by substantial evidence. Moreover, Defendant’s


2
    Second Benchmark Submission at Exhibit SB-1 (Nov. 1, 2022) (PR 309; CR 162).
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arguments concerning the narrower ITTO data are irrelevant given the fact that Commerce

already determined that the ITTO data individually and independently was reliable and

representative of a world market price. Based on record evidence, the Court should direct the

Commerce to recalculate the benchmark consistent with these arguments.

II.    COMMERCE’S AFA DETERMINATIONS AS TO CERTAIN INPUT
       SUPPLIER’S GOVERNMENT AUTHORITY STATUS IS UNLAWFUL

        In its direct brief, Baroque advances two main challenges to Commerce’s application of

 AFA to the government authority determination for certain of its input suppliers: (1) that

 Commerce’s “group” determination rather than individual determinations for each supplier,

 renders the decision unreviewable; and (2) even if reviewable, the Government of China

 (“GOC”) responses were not deficient or missing, preventing AFA because there is no gap in

 the record. Baroque Br. at 26-33. Both challenges address whether, based on the evidence and

 the requirements of 19 U.S.C.§§ 1677e(a), Commerce lawfully rendered a decision based on

 AFA. Though Baroque believes that substantial evidence demonstrates that its input suppliers

 are not government authorities, that claim is not before this Court. Commerce’s determination

 was based on AFA only. Commerce did not find that the information the GOC provided in this

 case demonstrated that Baroque’s input suppliers were government authorities. Instead,

 Commerce found that the GOC failed to provide requested information and, thus, failed to

 cooperate to the best of its ability warranting the use of facts available with adverse inferences

 to fill that gap in the record. Baroque argued at length in its direct brief that this finding was

 unlawful. The Government does not adequately rebut Baroque’s position.




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       A.      THE COURT HAS AN INSUFFICIENT BASIS ON WHICH TO REVIEW
               COMMERCE’S DETERMINATION

        The first challenge that Baroque makes in its brief relates to how Commerce rendered its

 determination. Baroque Br. at 26-29. Specifically, Baroque argued that Commerce erred by

 failing to make government authority determinations for each input supplier, particularly the

 individually owned suppliers identified in Attachment 1 to its direct brief. Baroque continued

 that failing to issue specific findings on how the GOC did not provide requested information or

 cooperate as to each of the sixteen suppliers (including two affiliates) made Commerce’s

 determination unreviewable by this Court. As the court has explained:

            A court is obligated to review a decision of an administrative agency
            according to the reasoning the agency puts forth. . . .To do that, a court
            must be able to discern and evaluate that reasoning according to the
            applicable standard of review.

Guizhou Tyre Co. v. United States, 557 F. Supp. 3d 1302, 1324 (CIT 2022).

       Whether Baroque’s input suppliers are government authorities is an individual

determination based on the information provided by the GOC in its questionnaire responses (and

any other information on the record). Indeed, Commerce must determine whether each individual

supplier is “vested with government authority”, thereby providing a countervailable subsidy to

Baroque. If a supplier is not an authority, then the purchases from that supplier will not be

countervailed. To determine whether an entity is an “authority” under section 771(5)(B) of the

Act, Commerce reviews “the totality of record evidence and whether it demonstrates that the

government has meaningful control over an entity such that it possesses, exercises, or

is vested with government authority.” Phosphate Fertilizers From the Kingdom of Morocco:

Final Affirmative Countervailing Duty Determination, 86 Fed. Reg. 9482 (Feb. 16, 2021), IDM

at Cmt. 13; see also US – Anti-Dumping and Countervailing Duties (China); United States –


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Countervailing Measures on Certain Hot-Rolled Carbon Steel Flat Products from India,

WT/DS436/AB/R (8 December 2014) at para. 4.29 (“the term ‘public body’ in Article 1.1(a)(1)

of the SCM Agreement means ‘an entity that possesses, exercises or is vested with governmental

authority.’ Whether the conduct of an entity is that of a public body must in each case be

determined on its own merits, with due regard being had to the core characteristics and functions

of the relevant entity, its relationship with the government, and the legal and economic

environment prevailing in the country in which the investigated entity operates.”). Whether the

GOC did or did not provide requested information for each supplier again is an individual

determination since this information is used to determine whether that specific supplier is a

government authority. The Court must then determine whether Commerce lawfully concluded

that the failure to provide that specific information created a gap in the record that needed to be

filled to determine whether each supplier is a government authority. Finally, the Court must then

determine whether substantial evidence supported Commerce’s finding that information

provided, or failed to be provided, for each specific supplier constituted the GOC’s failure to

cooperate to the best of its ability, i.e., whether adverse inferences were warranted. The

Government in its brief does not address this claim that determinations must be made

individually even though (1) specific information was provided for each specific supplier,

creating a unique record for each3, and (2) certain suppliers where non-cross-owned affiliates of

Baroque, creating a unique factual scenario.

        Rather than address this specific argument, the Government misconstrues the arguments

Baroque makes regarding Commerce’s decision and the facts on the record. It claims that




3
 The GOC provided separates responses for each of the 16 suppliers. GOC IQR at Exh. LTAR-1, pp. LTAR-48-52
(PR 93-102; CR 35-54).
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“Baroque’s argument . . . incorrectly assumes that an analysis of ownership interests alone is

necessarily sufficient to demonstrate the absence of government control.” Gov. Br. at 18-19.

Baroque makes no such assumption. Instead, the point Baroque makes is that 1) Commerce’s

AFA determination focuses on missing ownership information and missing information

regarding CCP (i.e., the “9 entities) involvement as to every supplier; 2) because Commerce

applied that determination to all suppliers rather than making individual supplier specific

determination, it was incorrect as to certain suppliers that had no government ownership; and 3)

since no ownership information was missing, the only question as to these specific suppliers was

whether CCP involvement or the 9 Entity information was missing creating a gap.

       Moreover, the Government is wrong that the focus of the government authority

determination is solely on “meaningful control.” Gov. Br. at 19. While control is certainly a

large part of it, the analysis instead is 1) whether there is meaningful control and 2) whether that

control means that the company “possesses, exercises, and is vested with governmental

authority.” See, e.g., Countervailing Duty Investigation of Certain Cold-Rolled Steel

Flat Products From the Russian Federation: Final Affirmative Countervailing Duty

Determination and Final Negative Critical Circumstances Determination, 81 Fed. Reg. 49,935

(July 19, 2016), IDM at Cmt. 1 (“Rather, the totality of the record evidence demonstrates that the

GOR has meaningful control of Gazprom and that the company pursues government policy

objectives through Gazprom's business and operations; thus, Gazprom possesses, exercises, and

is vested with governmental authority.”); see also Phosphate Fertilizers From the Kingdom of

Morocco supra. Thus, the threshold legal question in this appeal is whether there is sufficient

information on the record to make this determination or whether instead the information is




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missing or deficient warranting the application of facts available with adverse inferences.

       B.      NECESSARY INFORMATION IS NOT MISSING

       The Government in its brief both distorts the information requested and information

actually received, further underscoring the legal error in Commerce’s determination. The first

step in the application of AFA is to determine whether information is missing from the record.

Zhejiang Dunan Hetian Metal Co. v. United States, 652 F.3d 1333, 1348 (Fed. Cir. 2011); see

Changzhou Trina Solar Energy Co., Ltd. v. United States, 352 F. Supp. 3d 1316, 1326 (CIT

2018) (“The use of facts available allows Commerce to render determinations when information

is missing and it may use an adverse inference if respondents fail to cooperate, but is not

permitted to skip either of these steps on the way to use of AFA”). As noted, Commerce must

identify what information missing and why that information is necessary. If necessary and

missing, Commerce can only apply adverse inferences if the information is deficient in some

way; these include: when (1) “necessary information is not available on the record, or” an

interested party (2) “withholds information that has been requested,” (3) “fails to provide such

information by the deadlines for submission of the information or in the form and manner

requested,” (4) “significantly impedes a proceeding ... or,” (5) “provides such information but the

information cannot be verified.” 19 U.S.C. § 1677e(a)(1)–(2).

       In its brief, the Government seems to acknowledge that ownership information was not

missing from these 16 suppliers. Instead, the Government walks through the “control”

information that believes Commerce properly identified as missing and deficient. In reviewing

these instances, it is critical for the Court to pay attention to the particular question being asked.

As we outline in our direct brief, in many instances the questions asked do not request supporting

documentation and, yet, Commerce found the answers deficient for just that reason. See Baroque

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Br. at 30 (noting that neither the 9 Entities nor CCP questions ask for documents and only for

explanation or yes/no responses). It is axiomatic that “it is Commerce, not the respondent, which

bears the burden of asking questions” and that Commerce must ask “clear” questions “to let the

respondent know what information it really wants”. Ta Chen Stainless Steel Pipe, Ltd. v. United

States, 23 CIT 804, 820 (1999); see also NSK Ltd. v. United States, 910 F.Supp. 663, 671

(1995) (“respondents should not be required to guess the parameters of Commerce's

interpretation of a phrase in the statute”). Put simply, a respondent cannot receive AFA for not

providing documents it was never asked to provide.

       First, the Government addresses the question where Commerce asked the GOC to

“identify any individual owners, members of the board of directors, or senior managers who

were {Chinese} Government or CCP officials during the POR.” Gov. Br. at 22. The full

question reads:

           Please identify any individual owners, members of the board of directors,
           or senior managers who were Government or CCP officials during the
           POR. Where an owner, member of the board of directors or manager of
           the input producer, or any owner at any level of ownership of such
           producer, has been identified as an official of any of the nine entities
           named in Section F, above, please provide the information requested
           below with respect to that entity. (Please note that these questions do not
           pertain to general membership in the CCP.)

GOC IQR at LTAR 66 (C.R. 44/P.R. 102). For each of the 16 individual suppliers, the GOC

answered that “There are no individual owners, members, of the board of directors, or senior

managers who were Government or CCP officials during the POR at this producer.” Id. at

LTAR-66-68. Then, with respect to the question “Explain whether there are sources at the

national, provincial, municipal, or local levels to determine whether company owners, members

of the board of directors or managers were officials of any of the above nine entities”, the GOC

responded that “There is no central informational database to search for such information.” Id.
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at LTAR 60. On its face, the GOC fully answered the questions and none of these answers are

deficient.

       The Government then explains that “Commerce’s supplemental questionnaire repeated

the question regarding CCP involvement in senior management and the board and asked the

GOC to reconcile its statement that no CCP officials are involved with the board or senior

management with a CCP Opinion document stating that “CCP committees at all levels must

implement ideological work in the private economy sector.” Gov. Br. at 22. There are two errors

with this statement.

       First, Commerce did not identify a deficiency in the GOC’s response and, instead, merely

repeated the question:




GOC Supp Response at 10 (P.R. 227).

       Second, Commerce then in another question identified what it believed was a general

discrepancy in all of the GOC’s responses was no CCP involvement in any of the companies; not

that there was a specific deficiency in the GOC’s response that none of the managers, directors

or shareholders of the suppliers were CCP officials. Commerce asked:




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Id. at 10-11. Again, it is unclear why this response is deficient or how it means that the GOC’s

specific response that none of the 16 suppliers’ managers, directors or shareholders are CCP

officials is deficient. This document referenced in the question merely discusses improvements

on how local CCP committees consult and communicate with private businesses; it does not

discuss local CCP committee officials becoming managers, directors or shareholders of private

companies. Petitioners May 25, 2022 Comments on the GOC IQR at Exh. 1 (P.R. 114). This is

no different than local governments working with local business everywhere. Moreover, there is

a massive leap from local political committees urging private companies to implement

“ideological” policies to this document meaning that local CCP committees all now exert

“meaningful control” of each private company such that “the company pursues government

policy objectives through {the company’s” business and operations; thus, “the company”

possesses, exercises, and is vested with governmental authority.” Phosphate Fertilizers From


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the Kingdom of Morocco supra. In other words, in can both be true that local CCP committees

are following this opinion and at these specific suppliers do not have any owners, manages or

directors that are CCP officials. Thus, this document does not establish a discrepancy in the

GOC’s response and, more importantly, Commerce did not in fact cite any “discrepancy”

between the GOC’s response and this specific document as the basis for its AFA determination

in its Final Results. IDM at Cmt. 4 (P.R. 361).4

        Next the Government addresses the GOC’s responses on whether primary party

organizations are present in the reported suppliers. The Government states:

             Commerce also asked about the CCP Constitution’s requirement that a
             branch or committee be formed in any enterprise with three or more party
             members regardless of state-ownership and whether such an entity has
             been formed within the company and for the GOC to “explain any
             decisions taken by that entity that are subject to review or approval by the
             Government or the {CCP}.” See Section II Supplemental Questionnaire at
             7-8 (P.R. 119). The GOC again responded with bald assertions that the
             CCP did not control input suppliers. See GOC’s Letter, “GOC Second
             Supplemental Questionnaire Response,” dated October 21, 2022 (Second
             Supplemental Questionnaire Response) at Exhibit SQ2-3 at 9-21 (P.R.
             308).

Gov. Br. at 23. Again, there are a number of errors in this statement.

        First, the GOC fully responded to the primary party question. For each of the 16

producers the GOC responded:

             [




                         ]



4
 We further note that this CCP Opinion was issued on September 15, 2020, and only covered a small portion of the
POR, to the extent that it could even be implemented in the final months for 2020 in any sort of tangible way. The
POR here is from January 1, 2020, to December 31, 2020.
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GOC IQR at Exh. LTAR-1, pp. LTAR-48-52 (C.R. 44/P.R. 102). In the supplemental

questionnaire issued to the GOC, Commerce did not address the specifics of the GOC’s response

but instead just repeated the question. The GOC then provided signed statements from the

suppliers, confirming that primary party organizations did not exist within these suppliers. GOC

Supp. Response at Exh. SQ-2 (PR 227; CR 73-77). Thus, the Government statement that

“Nowhere in its response did the GOC actually answer whether such entities were formed within

the input suppliers” is plain wrong. Gov. Br. at 24.

        Second, not only did the GOC full respond that each of these 16 suppliers did not have a

primary party organization, but this information does not contradict the information the

Government cites. The CCP Constitution merely states that a primary party must be formed

where there are three or more party members. IDM at Cmt. 4 (P.R. 361). This means that where

there are not three party members in the company, no primary party is necessary. Thus, it is

neither unreasonable nor contradicted on the record that there would be private companies

without a primary party organization. Indeed, with only about 100 million CCP members in

China5 compared to a population of about 1.4 billion6, this means only 7% of the publication in

China are party members. Thus, there are likely many companies that do not have three party

members.

        Further, the Government states that information on the records shows “Commerce’s

presumption of significant CCP involvement in privately- owned enterprises and that those

entities “are public bodies if Commerce determines that the government exercises meaningful

control over them.” Gov. Br. at 23, citing Public Bodies Memorandum at Attachment I at 3



5
  https://www.scmp.com/news/china/politics/article/3183669/chinas-communist-party-grows-near-97-million-its-
made-younger
6
  https://data.worldbank.org/indicator/SP.POP.TOTL?locations=CN
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(P.R. 140-156). This statement is misleading. This statement in the Public Bodies Memorandum

is referring to the fact that if there is involvement by a CCP official in the company, then

Commerce could find there is meaningful control. Id. The Public Bodies Memorandum does not

state that there is a presumption of CCP control in private companies. Indeed, the Public Bodies

Memorandum is actually called the “Update of the 2012 Public Bodies Analysis of State-

Invested Enterprises in China for Countervailing Duty Purposes” and focuses on state-invested

enterprises (SIEs), not private companies in China. “By ‘state-invested enterprise,’ Commerce

means enterprises in which the government of China has an ownership stake of any size.” Public

Bodies Memorandum at Attachment I at 3 (P.R. 140-156). The memorandum than reiterates its

findings that public bodies can be: “ (1) any enterprise in China in which the government has a

full or controlling ownership interest is a public body; (2) enterprises in China in which the

government has significant ownership that are also subject to certain government industrial plans

may be public bodies; and (3) certain enterprises that have little or no formal government

ownership are public bodies if Commerce determines that the government exercises meaningful

control over them. Id. (emphasis added to identify the portion cited by the Government in its

brief).

          These are the only examples the Government provides of “missing” information from the

record and, yet, the above clearly shows that the information was, in fact, not missing. The GOC

did not fail to provide documents requested of it, answered each question fully, provided

information directly from each of the input suppliers supporting the information provided and

did not refuse to answer any questions put to it. Moreover, there is no information on the record

that shows that this information is deficient and the Government’s argument to the contrary fail.




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       First, the Government again cites to the CCP Constitution, to the 2006 Company Law,

which repeats the three CCP member requirement, and to previous cases to support Commerce’s

deficiency finding. These previous cases include “Metal Lockers and the 2019 Multilayered

Wood Flooring Review, which found that ‘Chinese law requires the establishment of CCP

organizations’ in all companies so privately owned organizations may be subject to the CCP’s

‘controlling influence in the company’s affairs’ and that a CCP report ‘primarily indicates the

influence of the CCP over the employees in the company’ despite GOC claims that it did not.”

Gov. Br. at 26, citing IDM at 57.

       As already discussed above, the three member requirement supports, and not hurts, the

GOC’s claim that these 16 suppliers do not have CCP primary party organization. These

organizations are not required in all companies; therefore, it is entirely reasonable to presume

that private companies do not have these entities within them.

       Metal Lockers is factually distinguishable from this case. In that case, the GOC did not

respond to the 9 entities question, did not provide information regarding primary party

organizations within the respondents’ input suppliers, and did not answer questions about CCP

officials within the suppliers. Instead, the GOC simply argued that 1) “the information provided

from ECIPS was sufficient for our analysis,” and that 2) CCP involvement would not make the

company a government authority. Certain Metal Lockers and Parts Thereof from the People’s

Republic of China: Final Affirmative Countervailing Duty Determination, 86 Fed. Reg. 35,741

(July 7, 2021), IDM at Cmt. 5. That is not what Baroque argues here and the record in this case

is completely different.

       The reference to the 2019 Multilayered Wood Flooring Review is also helpful, not

hurtful. In that case (currently before this court in Ct. No. 22-210), the GOC reported that one of

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the respondents’ suppliers had a primary party organization, while others did not. The

Government states in its brief that “Commerce indicated that the 2019 review was provided ‘as

an example’ and used it to further demonstrate how the CCP ‘guided’ privately-owned input

suppliers which makes information on CCP presence and influence necessary to the

investigation.” Gov. Br. at 27, citing IDM at 57 (P.R. 361). This demonstrates that the GOC’s

answers to the 9 entities question can and is reliable. If the GOC states that the company does

not have a primary party organization, it is evidence of that fact, just as the GOC’s statement that

the company does have a primary party organization, is, as the Government and Commerce

admits, substantial evidence of that fact.

       Finally, the Government again focuses on Commerce’s reliance on Citric Acid from

China 2012. Gov. Br at 28, citing IDM at 58 (P.R. 367). The Government claims that this case

“served as a strong indication that the GOC did not take reasonable measures to secure the

necessary information” because in that case, the official was part of a local CCP organization

and, then was not, which could be proved based on the local CCP organization’s records. In its

direct brief, Baroque argued that requiring the GOC to poll each and every CCP organization in

the entire country to demonstrate the negative that no company officials were part of that CC

organization was unreasonable and onerous. Baroque Br. at 33. The Government responded that

“The fact remains that the GOC never submitted a signed certificate from any CCP entity and

“Therefore, its argument that a government document or signed certificate from the CCP would

be insufficient is purely speculative.” Gov. Br. at 28-29.

       The Government’s response is confusing. In this case, Commerce used the fact that the

GOC did not provide a certification like in Citric Acid from China 2012 as part of the basis for

AFA. Thus, it is very relevant that the facts in that case were completely different than here. In

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that case, the GOC only had to prove that a fact had changed and was no longer true (i.e., the

CCP official was part of an organization in the past and no longer was during the POR). Here,

the GOC is attempting to prove that a fact never existed in the first place (i.e., no officials from

any CCP entity in the country or primary party organizations). Here, Commerce asks about

involvement in the following: (1) Chinese Communist Party (CCP) Congresses, (2) CCP

Committees, (3) CCP Standing Committees, (4) People’s Congresses, (5) Standing Committees

of People’s Congresses, (6) other Government administration entities, including village

committees, (7) the Chinese People’s Political Consultative Conferences (CPPCC), (8) the

Discipline Inspection Committees of the CCP, and (9) a CCP committee, branch, or “primary

organization.” This covers every level of society in China and hundreds, if not thousands, of

entities. Commerce has provided no direction in how to demonstrate these facts, in any case

other than when faced with the unique facts of Citric Acid.

       In sum, the GOC in this review provided complete responses to the Department’s

questions for 16 suppliers. The Department’s findings that both information is missing and

deficient is not supported by the record rendering the application of AFA unlawful. This issue

should therefore be remanded back to Commerce for reconsideration.

       C.      BAROQUE DID NOT FAIL TO EXHAUST ADMINISTRATIVE REMEDIES

       The Government’s arguments that Baroque failed to exhaust administrative remedies by

not raising its 19 U.S.C. § 1677m(d) claim below also fails. Gov. Br. at 41. First, Baroque argued

at length below that the GOC’s responses were not deficient, and that AFA was not warranted.

This claim arises from that argument, Commerce had clear notice. Second, even if the 1677m(d)

claim is unique from the arguments raised, the pure question of law exception applies. The

question here is whether Commerce followed the express terms of an unambiguous statute; there


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is no question of fact. Agro Dutch Indus. Ltd. v. United States, 508 F.3d 1024, 1029 (Fed. Cir.

2007); see, e.g., Borusan Mannesmann Boru Sanayi Ve Ticaret A.S, 426 F. Supp. 3d 1395, 1410

(CIT 2020) (“BMB’s argument is that the express terms of the statute prohibit Commerce from

making any PMS adjustment to an importer's cost of production… for purposes of the sales

below COP test, so that Commerce acted contrary to the statute, and thus contrary to law….The

‘pure legal question’ exception applies because no further factual development is required, so

that requiring exhaustion would be futile.”). As explained above, Commerce explained in its

Final Results in response to Baroque’s briefing that the GOC failed to provide sufficient

documentation for the 9 Entities Question, warranting AFA, and yet neither the 9 Entities

Question nor Commerce’s supplemental question requested documentation. The failure to advise

the GOC of this deficiency, which formed the basis for Commerce’s AFA finding, is contrary to

the unambiguous statutory requirements in section 1677m(d).

       For these reasons, the Court should disregard the Government’s claims concerning

exhaustion.




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                                        CONCLUSION

       For the reasons discussed above, Baroque requests that this Court hold that Commerce’s

Final Results are unsupported by substantial evidence and otherwise not in accordance with law

and remand the Final Results with instructions to issue a new determination that is consistent

with this Court’s decision.



                                                     Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies with
the word limitation requirement. The word count for Baroque Timber Industries (Zhongshan)
Co., Ltd.’s and Riverside Plywood Reply Brief, as computed by Grunfeld, Desiderio, Lebowitz,
Silverman & Klestadt’s word processing system Microsoft Word 2013, is 6,239 words, less than
the 7,000 word limit.

                                                   /s/ Andrew T. Schutz
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Dated: August 29, 2024




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